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                     UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF OKLAHOMA

In re:                                                 )
                                                       )
Flowers, Michael and Marinda,                          )    BK- 22-10808-JDL
                     Debtors.                          )    Chapter 13
                                                       )
Bonda, LLC,                                            )
                                                       )
                       Plaintiff,                      )
                                                       )
v.                                                     )    Adv. No. 22-01033
                                                       )
Michael Flowers and Marinda Flowers,                   )
d/b/a Flowers Realty Services                          )
                                                       )
                       Defendants.                     )

                                         ANSWER

         Come now the Defendants, Michael Flowers and Marinda Flowers, and for their

Answer to Plaintiff’s Amended Complaint to Determine Dischargeability of Debt state as

follows:

         1.     Numerical paragraph one is admitted.

         2.     Numerical paragraph two is admitted.

         3.     Numerical paragraph three is admitted.

         4.     Numerical paragraph four is admitted.

         5.     Defendants are without sufficient knowledge to either admit or deny the

                allegation contained in numerical paragraph 5.

         6.     Numerical paragraph six is admitted.
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       7.      Numerical paragraph seven requires no response.

       8.      Defendants consent to entry of final orders or judgment by the bankruptcy

court concerning dischargeability of the debt owed to Plaintiff; the balance of the

averments contained in numerical paragraph 8 require no response.

       9.      Defendants are without sufficient knowledge to either admit or deny the

first allegation contained in numerical paragraph 9.         The remainder of numerical

paragraph 9 is admitted.

       10.     The allegations contained in numerical paragraph 10 are legal conclusions

for which no responses are required.

       11.     The allegation contained in numerical paragraph 11 is a legal conclusion

for which no response is required.

       12.     Defendants deny the allegations contained in numerical paragraph 12.

       13.     Defendants deny the allegations contained in numerical paragraph 13.

       14.     Defendants deny the allegations contained in numerical paragraph 14.

       15.     To the extent it contains more than mere legal conclusions, Defendants

deny the allegations contained in numerical paragraph 15.

       16      Numerical paragraph 16 is a recitation of the averments contained in

numerical paragraph 8 and require no additional response by Defendants.

       WHEREFORE, having fully answered, Defendants pray the Court hold the debt

owed to Plaintiff by Defendants be held dischargeable in bankruptcy, award the

Defendants the costs and fees incurred in defense of this action, and for such other and

further relief as the Court deems just, equitable and appropriate.




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                    By:     /s/ O. Clifton Gooding
                            O. Clifton Gooding (OBA #10315)

                    Of the Firm:

                    THE GOODING LAW FIRM
                    A Professional Corporation
                    204 North Robinson Avenue, Suite 1235
                    Oklahoma City, Oklahoma 73102
                    405.948.1978 – Telephone
                    405.948.0864 – Facsimile
                    cgooding@goodingfirm.com – Email

                    Attorney for MICHAEL AND
                    MARINDA FLOWERS




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